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           APPENDIX E
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        474. The attempted decomposition of the life-cycle effects of the MR-GO by the

Defendants is a classic mistake in development of accurate and realistic understandings of the

behavior of real complex “systems.” Exh. 90, Bea Supp. Decl. (Oct. 2008) at ¶10(b).

        475. Synthesis—or understanding the behavior of the entire system (assembly of

components)—must take place before there are attempts to decompose the system to develop

additional insights into workings of components and their interactive and interdependent

relationships with other components. Exh. 90, Bea Supp. Decl. (Oct. 2008) at ¶10(b) (emphasis

in original).

Defendant’s Experts Flawed Analysis

        476. There are other flaws in the Defendant’s criticism of Plaintiffs’ modeling results.

For example, Defendant focuses almost exclusively on only two measurements of the MR-GO’s

impact—maximum surge and wave height. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶¶10,

12(a), 19-27, 29-32; Exh. 90, Bea Supp. Decl. (Oct. 2008) at ¶4; Exh. 81, Bea Expert Report

(Jan. 2009) at pp. 22-34.

        477. Like IPET, Defendant’s experts’ modeling largely ignores waves and their adverse

effects on the LPV system in the relevant area. Exh. 94, Kemp Expert Decl. (Jan. 2009) at pp.

10-14; Exh. 91, Kemp Expert Report (July 2008) at p. 83.

        478. Defendant’s expert’s modeling—and conclusions about the MR-GO’s impact on

surge and significant wave height—are skewed by erroneous assumptions about the Reach 2

topography and relevant features (channel and land separating the channel from the LPV berm)

and boundary conditions. Exh. 94, Kemp Expert Decl. (Jan. 2009) at pp. 12-14, 25.

        479. Defendant’s experts do not address the impact of progressive wetlands on the

flooding consequences. Exh. 94, Kemp Expert Decl. (Jan. 2009) at p. 30.




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        480. Defendant ignores three more reliable measurements—time of onset, duration, and

rate of structure overtopping by surge. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶¶10, 12(a),

19-27, 29-32; Exh. 90, Bea Supp. Decl. (Oct. 2008) at ¶4.

        481. Defendant also mischaracterizes Plaintiffs’ modeling data demonstrating that the

MR-GO had a direct effect on substantially increasing oceanographic stresses on the LPV flood

control structures due to earlier onset and more prolonged duration of surge above a critical

elevation. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶¶10, 12(a), 19-27, 29-32; Exh. 90, Bea

Supp. Decl. (Oct. 2008) at ¶4.

        482. Defendant further ignores the destructive role of wave side attack—before

overtopping—in the failure of the EBSBs along Reach 2. Exh. 90, Bea Supp. Decl. (Oct. 2008)

at ¶5(b).

        483. There are numerous flaws in the computer modeling by Defendant’s three experts—

Westerink, Ebersole, and Resio—including use of a Beta version of ADCIRC (SL-15), random

results, inaccurate input data, and others. Exh. 93, Kemp Supp. Decl. (Jan. 2009) at pp. 4-6, 13-

14; Exh. 94, Kemp Expert Decl. (Jan. 2009) at pp. 25-30; Exh. 82, Bea Expert Report. (Jan.

2009) at pp. 167-199; Exh. 106, Vrijling, Joint declaration, Vrijling, Kok, de Wit, and Gautier

concerning wave and flow modeling New Orleans -- MRGO for Hurricane Katrina, August 2005

(Jan. 2009) at p. 12.

     DAMAGE TO LPV STRUCTURES CAUSED BY MR-GO’S EXACERBATION
                      OF STORM PARAMETERS

Catastrophic Failures

        484. The LPV flood protection system failed catastrophically, producing the single most

massive failure of an engineered system in United States history. Over 170 of the 350 miles of

the LPV system were either destroyed or damaged at 50 different locations, primarily as a result



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